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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11    BILLY ALFARO,                              Case No. EDCV 20-0970 RGK (RAO)
  12                       Petitioner,
                                                   ORDER ACCEPTING FINDINGS,
  13            v.                                 CONCLUSIONS, AND
                                                   RECOMMENDATIONS OF
  14    T. JUSINO,                                 UNITED STATES MAGISTRATE
                                                   JUDGE
  15                       Respondent.
  16

  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, all of the
  18   records and files herein, and the Magistrate Judge’s Report and Recommendation.
  19   Petitioner has not objected to the Report and Recommendation. The Court hereby
  20   accepts and adopts the findings, conclusions, and recommendations of the Magistrate
  21   Judge.
  22         IT IS ORDERED that the Petition is denied, and Judgment shall be entered
  23   dismissing this action without prejudice.
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  25   DATED: January 12, 2021
  26
                                              R. GARY KLAUSNER
  27                                          UNITED STATES DISTRICT JUDGE
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